                        Case 15-20930                         Doc 1         Filed 06/16/15 Entered 06/16/15 21:03:50                                                  Desc Main
B1 (Official Form 1)(04/13)
                                                                              Document     Page 1 of 72
                                                  United States Bankruptcy Court
                                                          Northern District of Illinois                                                                            Voluntary Petition
           }
           b
           k
           1
           {
           F
           o
           r
           m
           .
           V
           l
           u
           n
           t
           a
           y
           P
           e
           i




 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Roberson-Lowe, Veda Deleasa


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-3108
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  2223 N. 74th Ave
  Elmwood Park, IL
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         60707
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Cook
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):
  1624 Bell Ave
  Lakewood, OH
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         44107
Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
                 Case 15-20930                 Doc 1          Filed 06/16/15 Entered 06/16/15 21:03:50                                       Desc Main
B1 (Official Form 1)(04/13)
                                                                Document     Page 2 of 72                                                                                  Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Roberson-Lowe, Veda Deleasa
(This page must be completed and filed in every case)
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                     Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                      Exhibit A                                                                                Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X     /s/ S. M. de Rath, Esq.                                  June 15, 2015
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             S. M. de Rath, Esq. 6206809

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                        Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                      (Name of landlord that obtained judgment)




                                      (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                   the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                   Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                  Case 15-20930                  Doc 1          Filed 06/16/15 Entered 06/16/15 21:03:50                                     Desc Main
B1 (Official Form 1)(04/13)
                                                                  Document     Page 3 of 72                                                                             Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Roberson-Lowe, Veda Deleasa
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this               I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                          is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and           proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                            (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Veda Deleasa Roberson-Lowe                                                       X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Veda Deleasa Roberson-Lowe

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     June 15, 2015
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ S. M. de Rath, Esq.
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      S. M. de Rath, Esq. 6206809                                                              debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Attorney S.M.de Rath, Esq.
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      233 S. Wacker Dr, 84th FL
      Chicago, IL 60606                                                                        Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)


      312-283-8606
     Telephone Number
     June 15, 2015
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
Case 15-20930   Doc 1   Filed 06/16/15 Entered 06/16/15 21:03:50   Desc Main
                          Document     Page 4 of 72
                   Case
}bk1{Petition Signature    15-20930
                        page}bk{      Doc 1   Filed 06/16/15 Entered 06/16/15 21:03:50   Desc Main
                                                Document     Page 5 of 72
                 Case 15-20930                   Doc 1           Filed 06/16/15 Entered 06/16/15 21:03:50           Desc Main
                                                                   Document     Page 6 of 72


B 1D (Official Form 1, Exhibit D) (12/09)
                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Veda Deleasa Roberson-Lowe                                                               Case No.
                                                                                 Debtor(s)           Chapter    7




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.
          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
                  Case 15-20930                       Doc 1          Filed 06/16/15 Entered 06/16/15 21:03:50         Desc Main
                                                                       Document     Page 7 of 72


B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                     Page 2

                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
             deficiency so as to be incapable of realizing and making rational decisions with respect to financial
             responsibilities.);
                       Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
             unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
             through the Internet.);
                       Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
             I certify under penalty of perjury that the information provided above is true and correct.

                                                       Signature of Debtor:          /s/ Veda Deleasa Roberson-Lowe
                                                                                     Veda Deleasa Roberson-Lowe
                                                       Date:         June 15, 2015




Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
                   Case
}bk1{Exhibit D Signature   15-20930
                         page}bk{     Doc 1   Filed 06/16/15 Entered 06/16/15 21:03:50   Desc Main
                                                Document     Page 8 of 72
                    Case 15-20930                     Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50                Desc Main
                                                                         Document     Page 9 of 72
B6 Summary (Official Form 6 - Summary) (12/14)


          }
          b
          k
          1
          {
          F
          o
          r
          m
          6
          .
          S
          u
          a
          y
          f
          c
          h
          e
          d
          l
          s




                                                               United States Bankruptcy Court
                                                                        Northern District of Illinois
  In re          Veda Deleasa Roberson-Lowe                                                                     Case No.
                                                                                                         ,
                                                                                        Debtor
                                                                                                                Chapter                   7




                                                                   SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED            NO. OF          ASSETS                 LIABILITIES             OTHER
                                                         (YES/NO)           SHEETS

A - Real Property                                              Yes             1                         0.00


B - Personal Property                                          Yes             4                  32,539.59


C - Property Claimed as Exempt                                 Yes             2


D - Creditors Holding Secured Claims                           Yes             1                                           11,726.28


E - Creditors Holding Unsecured                                Yes             2                                           11,440.50
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes             11                                          58,245.16
    Nonpriority Claims

G - Executory Contracts and                                    Yes             1
   Unexpired Leases

H - Codebtors                                                  Yes             1


I - Current Income of Individual                               Yes             3                                                                   3,957.46
    Debtor(s)

J - Current Expenditures of Individual                         Yes             2                                                                   6,079.07
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                     28


                                                                         Total Assets             32,539.59


                                                                                          Total Liabilities                81,411.94




Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                     Case 15-20930                    Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50                 Desc Main
                                                                        Document     Page 10 of 72
B 6 Summary (Official Form 6 - Summary) (12/14)


          }
          e
          b
          k
          r
          {
          t
          1
          a
          i
          F
          n
          o
          L
          m
          6
          .
          l
          S
          s
          c
          d
          R
          u
          y
          D
          f
          C




                                                               United States Bankruptcy Court
                                                                        Northern District of Illinois
  In re           Veda Deleasa Roberson-Lowe                                                                         Case No.
                                                                                                          ,
                                                                                        Debtor
                                                                                                                     Chapter                7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                  Amount

              Domestic Support Obligations (from Schedule E)                                                      0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                          11,440.50

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                  0.00

              Student Loan Obligations (from Schedule F)                                                          0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                  0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                  0.00

                                                                              TOTAL                       11,440.50


              State the following:

              Average Income (from Schedule I, Line 12)                                                       3,957.46

              Average Expenses (from Schedule J, Line 22)                                                     6,079.07

              Current Monthly Income (from Form 22A-1 Line 11; OR,
              Form 22B Line 14; OR, Form 22C-1 Line 14 )                                                      6,111.67


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                    8,540.28

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                          11,440.50

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                          0.00

              4. Total from Schedule F                                                                                             58,245.16

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                         66,785.44




Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
                    Case 15-20930                     Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50               Desc Main
                                                                        Document     Page 11 of 72
B6A (Official Form 6A) (12/07)


          }
          b
          k
          1
          {
          S
          c
          h
          e
          d
          u
          l
          A
          -
          R
          a
          P
          r
          o
          p
          t
          y




  In re         Veda Deleasa Roberson-Lowe                                                                        Case No.
                                                                                                      ,
                                                                                        Debtor

                                                              SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                      Husband,    Current Value of
                                                                              Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                Description and Location of Property                          Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                     Community Deducting  any Secured
                                                                                                                 Claim or Exemption

Never owned property                                                                                      -                      0.00                          0.00




                                                                                                      Sub-Total >               0.00          (Total of this page)

                                                                                                              Total >           0.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                      (Report also on Summary of Schedules)
Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                    Case 15-20930                     Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50                       Desc Main
                                                                        Document     Page 12 of 72
B6B (Official Form 6B) (12/07)


          }
          k
          b
          {
          1
          S
          c
          h
          e
          d
          u
          l
          B
          -
          P
          r
          s
          o
          n
          a
          p
          t
          y




  In re         Veda Deleasa Roberson-Lowe                                                                           Case No.
                                                                                                         ,
                                                                                        Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                                 Husband,        Current Value of
                Type of Property                          O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                  Joint, or   without Deducting any
                                                          E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                            Debtor's cash on hand in cookie jar, for                          -                           100.00
                                                              emergencies, etc, located at debtor's residence,
                                                              current estimated FMV not over $100 at a time.

2.    Checking, savings or other financial                    Savings Account                                                   -                           100.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                      Checking Account: Checking Account ....1524                       -                            20.00
      thrift, building and loan, and                          Huntington Bank
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                        Audio-Video: Play Station 3, Portable DVD player                  -                           500.00
      including audio, video, and
      computer equipment.                                     Furniture: 4 Bedroom Sets, 1 sofa sleeper, 1 sofa, 1              -                        1,000.00
                                                              loveseat, 1 oversized chair, 1cocktail table, 2 end
                                                              tables, Dining Room table with 6 chairs, 1 China
                                                              Cabinet,

                                                              Appliances: Refrigerator, Stove, microwave,                       -                           400.00
                                                              Blender, Washer, Dryer, Coffee Maker

                                                              Household: China, Glassware, Silverware,                          -                           600.00
                                                              Paintings, 2 TVs

                                                              Audio-Video: Play Station 3, Portable DVD player                  -                           200.00

5.    Books, pictures and other art                           Debtor's knicknacks, odds and ends, including but                 -                           500.00
      objects, antiques, stamp, coin,                         not limited to: pictures, books, collectables, CDs,
      record, tape, compact disc, and                         software, etc. located at debtor's residence, total
      other collections or collectibles.                      estimated market value approximately under $500,

                                                              Books-Music: DVD's, Music, Books,                                 -                           400.00
                                                              PS3 Games,

                                                              Books-Music: Books and PS3 Games,                                 -                           150.00


                                                                                                                                Sub-Total >            3,970.00
                                                                                                                    (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                    Case 15-20930                     Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50                       Desc Main
                                                                        Document     Page 13 of 72
B6B (Official Form 6B) (12/07) - Cont.




  In re         Veda Deleasa Roberson-Lowe                                                                           Case No.
                                                                                                         ,
                                                                                        Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                               (Continuation Sheet)

                                                          N                                                                 Husband,        Current Value of
                Type of Property                          O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                  Joint, or   without Deducting any
                                                          E                                                                Community Secured Claim or Exemption

6.    Wearing apparel.                                        Clothes: Attire for Self, Daughter, Granddaughter,                -                           800.00
                                                              and Twin Nieces

7.    Furs and jewelry.                                       Jewelry: Rings, Earrings                                          -                            80.00

8.    Firearms and sports, photographic,                      Debtor misc hobby & sports equipment, including                   -                           250.00
      and other hobby equipment.                              but not limited to toys, cameras, bikes, balls,
                                                              rackets, etc. located at debtor's residence, total
                                                              estimated FMV approximately under $250.

9.    Interests in insurance policies.                        Insurance: Basic Term Life                                        -                      22,000.00
      Name insurance company of each                          My daughter and granddaughter are the
      policy and itemize surrender or                         beneficiaries
      refund value of each.                                    The Alpha Group

10. Annuities. Itemize and name each                      X
    issuer.

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                        Retirement: Company sponsored 401k Fund                           -                           453.59
    other pension or profit sharing                           Location: John Hancock
    plans. Give particulars.                                  Citibank New York
                                                              399 Park Avenue
                                                              New York, NY 10043

13. Stock and interests in incorporated                   X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.



                                                                                                                                Sub-Total >          23,583.59
                                                                                                                    (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                    Case 15-20930                     Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50                       Desc Main
                                                                        Document     Page 14 of 72
B6B (Official Form 6B) (12/07) - Cont.




  In re         Veda Deleasa Roberson-Lowe                                                                           Case No.
                                                                                                         ,
                                                                                        Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                               (Continuation Sheet)

                                                          N                                                                 Husband,        Current Value of
                Type of Property                          O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                  Joint, or   without Deducting any
                                                          E                                                                Community Secured Claim or Exemption

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                         Tax Refund Est: Expected Federal Tax Return                       -                        1,800.00
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                        X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        Auto: 2010 Nissan Altima                                          -                        3,186.00
    other vehicles and accessories.                           180,000
                                                              fair condition
                                                              Location: Not sure the car was just repo by the
                                                              bank

26. Boats, motors, and accessories.                       X

27. Aircraft and accessories.                             X

28. Office equipment, furnishings, and                    X
    supplies.


                                                                                                                                Sub-Total >            4,986.00
                                                                                                                    (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                    Case 15-20930                     Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50                       Desc Main
                                                                        Document     Page 15 of 72
B6B (Official Form 6B) (12/07) - Cont.




  In re         Veda Deleasa Roberson-Lowe                                                                           Case No.
                                                                                                         ,
                                                                                        Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                               (Continuation Sheet)

                                                          N                                                                 Husband,        Current Value of
                Type of Property                          O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                  Joint, or   without Deducting any
                                                          E                                                                Community Secured Claim or Exemption

29. Machinery, fixtures, equipment, and                   X
    supplies used in business.

30. Inventory.                                            X

31. Animals.                                              X

32. Crops - growing or harvested. Give                    X
    particulars.

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X

35. Other personal property of any kind                   X
    not already listed. Itemize.




                                                                                                                                Sub-Total >                  0.00
                                                                                                                    (Total of this page)
                                                                                                                                     Total >         32,539.59
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                            (Report also on Summary of Schedules)
Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                     Case 15-20930                     Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50                              Desc Main
                                                                         Document     Page 16 of 72
 B6C (Official Form 6C) (4/13)


           E
           }
           x
           b
           e
           k
           m
           1
           p
           {
           t
           S
           c
           h
           d
           u
           l
           C
           -
           P
           r
           o
           y
           a
           i
           s




   In re         Veda Deleasa Roberson-Lowe                                                                             Case No.
                                                                                                            ,
                                                                                        Debtor

                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                   Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                   $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                        with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                          Value of                 Current Value of
                   Description of Property                                         Each Exemption                              Claimed                  Property Without
                                                                                                                              Exemption               Deducting Exemption
Cash on Hand
Debtor's cash on hand in cookie jar, for                                   735 ILCS 5/12-1001(b)                                        100.00                           100.00
emergencies, etc, located at debtor's residence,
current estimated FMV not over $100 at a time.

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Savings Account                                   735 ILCS 5/12-1001(b)                                                                 100.00                           100.00

Checking Account: Checking Account ....1524                                735 ILCS 5/12-1001(b)                                          20.00                            20.00
Huntington Bank

Household Goods and Furnishings
Audio-Video: Play Station 3, Portable DVD                                  735 ILCS 5/12-1001(b)                                        500.00                           500.00
player

Furniture: 4 Bedroom Sets, 1 sofa sleeper, 1                               735 ILCS 5/12-1001(b)                                      1,000.00                         1,000.00
sofa, 1 loveseat, 1 oversized chair, 1cocktail
table, 2 end tables, Dining Room table with 6
chairs, 1 China Cabinet,

Appliances: Refrigerator, Stove, microwave,                                735 ILCS 5/12-1001(b)                                        100.00                           400.00
Blender, Washer, Dryer, Coffee Maker

Household: China, Glassware, Silverware,                                   735 ILCS 5/12-1001(b)                                        200.00                           600.00
Paintings, 2 TVs

Audio-Video: Play Station 3, Portable DVD                                  735 ILCS 5/12-1001(b)                                        100.00                           200.00
player

Books, Pictures and Other Art Objects; Collectibles
Debtor's knicknacks, odds and ends, including       735 ILCS 5/12-1001(a)                                                               500.00                           500.00
but not limited to: pictures, books, collectables,
CDs, software, etc. located at debtor's
residence, total estimated market value
approximately under $500,

Books-Music: DVD's, Music, Books,                                          735 ILCS 5/12-1001(b)                                        100.00                           400.00
PS3 Games,

Books-Music: Books and PS3 Games,                                          735 ILCS 5/12-1001(b)                                          50.00                          150.00

Wearing Apparel
Clothes: Attire for Self, Daughter,                                        735 ILCS 5/12-1001(a)                                        800.00                           800.00
Granddaughter, and Twin Nieces

Furs and Jewelry
Jewelry: Rings, Earrings                                                   735 ILCS 5/12-1001(b)                                          80.00                            80.00




    1      continuation sheets attached to Schedule of Property Claimed as Exempt
 Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
                       Case 15-20930                   Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50             Desc Main
                                                                         Document     Page 17 of 72
 B6C (Official Form 6C) (4/13) -- Cont.




   In re         Veda Deleasa Roberson-Lowe                                                                  Case No.
                                                                                                        ,
                                                                                         Debtor

                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                (Continuation Sheet)

                                                                                Specify Law Providing            Value of            Current Value of
                   Description of Property                                         Each Exemption                Claimed             Property Without
                                                                                                                Exemption          Deducting Exemption

Firearms and Sports, Photographic and Other Hobby Equipment
Debtor misc hobby & sports equipment,           735 ILCS 5/12-1001(b)                                                    250.00                   250.00
including but not limited to toys, cameras,
bikes, balls, rackets, etc. located at debtor's
residence, total estimated FMV approximately
under $250.

Interests in Insurance Policies
Insurance: Basic Term Life                                                 215 ILCS 5/238                           22,000.00                 22,000.00
My daughter and granddaughter are the
beneficiaries
 The Alpha Group

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
Retirement: Company sponsored 401k Fund             735 ILCS 5/12-1006                                                   453.59                   453.59
Location: John Hancock
Citibank New York
399 Park Avenue
New York, NY 10043

Other Contingent and Unliquidated Claims of Every Nature
Tax Refund Est: Expected Federal Tax Return       735 ILCS 5/12-1001(b)                                                 1,400.00               1,800.00

Automobiles, Trucks, Trailers, and Other Vehicles
Auto: 2010 Nissan Altima                                                   735 ILCS 5/12-1001(c)                            0.00               3,186.00
180,000
fair condition
Location: Not sure the car was just repo by the
bank




                                                                                                    Total:          27,753.59                 32,539.59
 Sheet      1     of    1     continuation sheets attached to the Schedule of Property Claimed as Exempt
 Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
                     Case 15-20930                     Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50                             Desc Main
                                                                         Document     Page 18 of 72
 B6D (Official Form 6D) (12/07)


           }
           e
           b
           c
           k
           u
           1
           r
           {
           S
           d
           h
           C
           l
           a
           i
           m
           s
           D
           -
           t
           o
           H
           n
           g




   In re         Veda Deleasa Roberson-Lowe                                                                                   Case No.
                                                                                                                 ,
                                                                                                  Debtor

                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
              CREDITOR'S NAME                                O                                                            O    N   I
                                                             D   H        DATE CLAIM WAS INCURRED,                        N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                            T    I   P       WITHOUT           UNSECURED
            INCLUDING ZIP CODE,                              B   W            NATURE OF LIEN, AND                         I    Q   U                         PORTION, IF
                                                             T   J         DESCRIPTION AND VALUE                          N    U   T
                                                                                                                                          DEDUCTING
           AND ACCOUNT NUMBER                                O                                                            G    I   E       VALUE OF             ANY
             (See instructions above.)
                                                                 C                OF PROPERTY
                                                             R
                                                                                SUBJECT TO LIEN
                                                                                                                          E    D   D     COLLATERAL
                                                                                                                          N    A
                                                                                                                          T    T
Account No. 5769180162                                             09/15/2015                                                  E
                                                                   Car Loan                                                    D

Wells Fargo Dealer Services                                        Auto: 2010 Nissan Altima
P.O. Box 25341                                                     180,000
                                                                   fair condition
Santa Ana, CA 92799-5341
                                                                 - Location: Not sure the car was just repo
                                                                   by the bank
                                                                        Value $                            3,186.00                         11,726.28                8,540.28
Account No.




                                                                        Value $
Account No.




                                                                        Value $
Account No.




                                                                        Value $
                                                                                                                       Subtotal
 0
_____ continuation sheets attached                                                                                                          11,726.28                8,540.28
                                                                                                              (Total of this page)
                                                                                                                          Total             11,726.28                8,540.28
                                                                                                (Report on Summary of Schedules)

 Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                    Case 15-20930                     Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50                                        Desc Main
                                                                        Document     Page 19 of 72
B6E (Official Form 6E) (4/13)


          }
          n
          b
          s
          k
          e
          1
          c
          {
          u
          S
          r
          h
          d
          P
          l
          i
          o
          E
          t
          -
          y
          C
          a
          m
          H
          g
          U




  In re         Veda Deleasa Roberson-Lowe                                                                                         Case No.
                                                                                                                      ,
                                                                                                Debtor

                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                             1         continuation sheets attached
Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
                     Case 15-20930                     Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50                              Desc Main
                                                                         Document     Page 20 of 72
 B6E (Official Form 6E) (4/13) - Cont.




   In re         Veda Deleasa Roberson-Lowe                                                                                   Case No.
                                                                                                                 ,
                                                                                                  Debtor

                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                      (Continuation Sheet)
                                                                                                                          Taxes and Certain Other Debts
                                                                                                                           Owed to Governmental Units
                                                                                                                                       TYPE OF PRIORITY
                                                             C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                O                                                            O    N   I                      AMOUNT NOT
                                                             D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                               E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                              B   W
                                                                         AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                          OF CLAIM
           AND ACCOUNT NUMBER                                T   J                                                        N    U   T                                AMOUNT
                                                             O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                            R   C                                                        E    D   D
                                                                                                                          N    A
                                                                                                                                                                    PRIORITY
                                                                                                                          T    T
Account No.                                                          Income Tax Local City Taxes 2013, 2012                    E
                                                                                                                               D

City of Lakewood
12805 Detroit Avenue                                                                                                                                      0.00
Lakewood, OH 44107
                                                                 -

                                                                                                                                              1,420.30              1,420.30
Account No.                                                          04/15/2012

Internal Revenue Services                                            Income Tax Unpaid Federal Taxes
ACS Support - Stop 5050                                                                                                                                   0.00
P.O. Box 219236
                                                                 -
Kansas City, MO 64121-9236

                                                                                                                                              8,588.18              8,588.18
Account No.                                                          Income Tax State of Ohio Unpaid Taxes

Ohio Department of Taxation
P.O. Box 182402                                                                                                                                           0.00
Columbus, OH 43216-2402
                                                                 -

                                                                                                                                              1,432.02              1,432.02
Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                  Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                       (Total of this page)           11,440.50            11,440.50
                                                                                                                          Total                           0.00
                                                                                                (Report on Summary of Schedules)             11,440.50            11,440.50

 Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                     Case 15-20930                     Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50                             Desc Main
                                                                         Document     Page 21 of 72
 B6F (Official Form 6F) (12/07)


           }
           n
           b
           s
           k
           e
           1
           c
           {
           u
           S
           r
           h
           d
           N
           o
           l
           p
           F
           i
           -
           C
           t
           y
           a
           m
           H
           g
           U




   In re         Veda Deleasa Roberson-Lowe                                                                              Case No.
                                                                                                                  ,
                                                                                                Debtor


                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                         C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                      O                                                                  O   N   I
                   MAILING ADDRESS                                       D   H                                                              N   L   S
                 INCLUDING ZIP CODE,                                     E               DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                             W
                AND ACCOUNT NUMBER
                                                                         B             CONSIDERATION FOR CLAIM. IF CLAIM                    I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                         T   J                                                              N   U   T
                                                                         O               IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                  (See instructions above.)                              R
                                                                             C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. 3000011862100                                                        12/23/2014                                                 T   T
                                                                                                                                                E
                                                                                 Personal Loan Pay Day Loan                                     D

Ace Cash Advance
11648 Lorain Avenu                                                           -
Cleveland, OH 44111

                                                                                                                                                                       1,137.06
Account No. 114942549                                                            01/13/2015
                                                                                 Personal Loan Pay Day Cash Advance
Advance America Cash Advance
13708 Lorain Road                                                            -
Cleveland, OH 44111

                                                                                                                                                                         691.73
Account No. 000000000000000000                                                   Opened 2/01/15
                                                                                 Collection Attorney Emergency Prof Svcs Inc.
Ars /Account Resolution Services
1643 Harrison Pkwy Ste 1                                                     -
Sunrise, FL 33323

                                                                                                                                                                         342.00
Account No. 000000000000000000                                                   Opened 12/01/13
                                                                                 Collection Attorney Emergency Prof Svcs Inc.
Ars /Account Resolution Services
1643 Harrison Pkwy Ste 1                                                     -
Sunrise, FL 33323

                                                                                                                                                                         297.00

                                                                                                                                        Subtotal
 10 continuation sheets attached
_____                                                                                                                                                                  2,467.79
                                                                                                                              (Total of this page)




 Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                     S/N:34364-150611   Best Case Bankruptcy
                     Case 15-20930                     Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50                      Desc Main
                                                                         Document     Page 22 of 72
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Veda Deleasa Roberson-Lowe                                                                           Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. 000000000000000000                                                   Opened 2/01/15                                          E
                                                                                 Collection Attorney Emergency Prof Svcs Inc.            D

Ars /Account Resolution Services
1643 Harrison Pkwy Ste 1                                                     -
Sunrise, FL 33323

                                                                                                                                                                 78.00
Account No. 108892806                                                            Opened 3/01/85 Last Active 3/15/12
                                                                                 Educational
Brazos Higher Ed Corp/
2401 International                                                           -
Madison, WI 53704

                                                                                                                                                                   0.00
Account No. 268703108892806                                                      Opened 3/07/85 Last Active 3/15/12
                                                                                 Educational
Bzhec/glelsi
2401 International                                                           -
Madison, WI 53704

                                                                                                                                                                   0.00
Account No. XXXXXXF388                                                           Credit Card Visa Credit Card bill

Capital One
c/o Javitch Block LLC                                                        -
1100 Superior Ave, 19th Floor
Cleveland, OH 44114-2521
                                                                                                                                                             4,017.94
Account No. 4862369450049992                                                     Opened 11/01/03 Last Active 1/16/15
                                                                                 Credit Card
Capital One
Attn: Bankruptcy                                                             -
Po Box 30285
Salt Lake City, UT 84130
                                                                                                                                                             4,095.00

           1
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                             8,190.94
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                     Case 15-20930                     Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50                      Desc Main
                                                                         Document     Page 23 of 72
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Veda Deleasa Roberson-Lowe                                                                           Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxx3108                                                             Personal Loan pay day loan                              E
                                                                                                                                         D

Cash Net USA
200 West Jackson                                                             -
Suite 2400
Chicago, IL 60600
                                                                                                                                                             1,896.00
Account No. xxxx3108                                                             Personal Loan Pay Day Loan

Cash Taxi.com
Level 5 Plaza Commecial Ctr                                                  -
Bisazza Street
Slieme SLM1640 Malto, PA 11111
                                                                                                                                                             2,215.00
Account No. 15363908                                                             Opened 1/01/85 Last Active 1/03/03
                                                                                 Charge Account
Cbna
133200 Smith Rd                                                              -
Cleveland, OH 44130

                                                                                                                                                                   0.00
Account No. 11640834                                                             12/23/2014
                                                                                 Personal Loan Pay Day Loan from Check
Check Smart                                                                      Smart
205 Sugar Camp Circle                                                        -
Dept. CSM
Dayton, OH 45409
                                                                                                                                                               910.50
Account No. 6035320338566548                                                     Opened 5/15/08 Last Active 10/08/14
                                                                                 Charge Account
Citibank/The Home Depot
Citicorp Credit Srvs/Centralized                                             -
Bankrup
Po Box 790040
Saint Louis, MO 63179                                                                                                                                              0.00

           2
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                             5,021.50
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                     Case 15-20930                     Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50                      Desc Main
                                                                         Document     Page 24 of 72
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Veda Deleasa Roberson-Lowe                                                                           Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      parking tickets                                         E
                                                                                                                                         D

City of Chicago
Department of Revenue                                                        -
POBox 88292
Chicago, IL 60680-1292
                                                                                                                                                                   0.00
Account No. 52545-2316                                                           Utility Bill Water Bill

City of Lakewood
12805 Detroit Ave                                                            -
Division OF Utility Billing
Lakewood, OH 44107
                                                                                                                                                               325.00
Account No. E15040225932                                                         Medical Hospital Bills for my granddaughter

Cleveland Clinic
9500 Euclid Avenue                                                           -
Cleveland, OH 44195

                                                                                                                                                               955.80
Account No. E1122334569                                                          Medical Hospital Bills for myself

Cleveland Clinic
Customer Service                                                             -
9500 Euclid Avenue RK2-4
Cleveland, OH 44195
                                                                                                                                                             3,500.00
Account No. E15020335933                                                         Medical Hospital Bill for myself

Cleveland Clinis
Customer Service                                                             -
9500 Euclid Ave RK2-4
Cleveland, OH 44195
                                                                                                                                                           12,800.00

           3
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                           17,580.80
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                     Case 15-20930                     Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50                      Desc Main
                                                                         Document     Page 25 of 72
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Veda Deleasa Roberson-Lowe                                                                           Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      utilities                                               E
                                                                                                                                         D

ComED
P.O. Box 6111                                                                -
Carol Stream, IL 60197

                                                                                                                                                               200.00
Account No. 5856370690619177                                                     Opened 5/01/08 Last Active 4/09/09
                                                                                 Charge Account
Comenity Bank/Harlem Furniture
Attention: Bankruptcy                                                        -
Po Box 182125
Columbus, OH 43218
                                                                                                                                                                   0.00
Account No. 27298050142                                                          Opened 9/01/04 Last Active 4/30/15
                                                                                 Check Credit Or Line Of Credit
Corporate America Fcu
Attn: Collections Dept                                                       -
2075 Big Timber Rd
Elgin, IL 60123
                                                                                                                                                             1,795.00
Account No. 0016011000933904                                                     Utility Bill Cable Bill

Cox Communications
P.O.Box 1259                                                                 -
Dept. #102290
Oaks, PA 19456
                                                                                                                                                               744.05
Account No. 7584115                                                              Opened 11/01/13 Last Active 1/01/14
                                                                                 Unsecured
Delbert Services/consu
1 City Blvd W                                                                -
Orange, CA 92868

                                                                                                                                                                   0.00

           4
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                             2,739.05
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                     Case 15-20930                     Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50                      Desc Main
                                                                         Document     Page 26 of 72
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Veda Deleasa Roberson-Lowe                                                                           Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. 6500061206408                                                        Utility Bill Gas Bill                                   E
                                                                                                                                         D

Dominion East Ohio Gas Company
P.O. Box 5759                                                                -
Cleveland, OH 44101

                                                                                                                                                               457.50
Account No. 931299576                                                            10/1/2013
                                                                                 Personal Loan Pay Day Loan
East Side Lenders
40 E Main Street                                                             -
Suite 410
Newark, DE 19711
                                                                                                                                                               527.00
Account No.                                                                      for notice information purposes only

Equifax Credit Information Services
Bankruptcy Department                                                        -
P.O Box 740241
Atlanta, GA 30374-0241
                                                                                                                                                                   0.00
Account No.                                                                      for notice information purposes only

Experian
Bankruptcy Dept                                                              -
P.O.Box 2002
Allen, TX 75013
                                                                                                                                                                   0.00
Account No. 6019180353727353                                                     Opened 2/25/04 Last Active 6/15/08
                                                                                 Charge Account
GECRB / HH Gregg
Attention: Bankruptcy                                                        -
Po Box 103104
Roswell, GA 30076
                                                                                                                                                                   0.00

           5
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                               984.50
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                     Case 15-20930                     Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50                      Desc Main
                                                                         Document     Page 27 of 72
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Veda Deleasa Roberson-Lowe                                                                           Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. 6019210046168820                                                     Opened 5/13/08 Last Active 10/04/13                     E
                                                                                 Charge Account                                          D

GECRB / HH Gregg
Attention: Bankruptcy                                                        -
Po Box 103104
Roswell, GA 30076
                                                                                                                                                                   0.00
Account No. 252026                                                               08/21/2014
                                                                                 Personal Loan Online Pay Day Loan
Get Cash USA
125 North Halsted Street                                                     -
4th Floor
Chicago, IL 60661
                                                                                                                                                               327.39
Account No. x3108                                                                03/9/2015
                                                                                 Personal Loan Online Pay Day Loan
Greenline Loans
P.O. Box 507                                                                 -
Hays, MT 59527

                                                                                                                                                               591.00
Account No.

Il Dept of Human Services
100 South Grand Ave East                                                     -
(800) 843-6154
Springfield, IL 62762
                                                                                                                                                                   0.00
Account No.                                                                      Collection for City of Chicago for parking
                                                                                 violations
Linebarger Goggan Blair & Sampson
Attorneys at Law                                                             -
P O Box 06152
Chicago, IL 60606-0152
                                                                                                                                                               300.00

           6
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                             1,218.39
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                     Case 15-20930                     Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50                      Desc Main
                                                                         Document     Page 28 of 72
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Veda Deleasa Roberson-Lowe                                                                           Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. 45043377                                                             10/14/2014                                              E
                                                                                 Personal Loan Online Pay Day Loan                       D

Max Lend
P.O. Box 639                                                                 -
Parshall, ND 58770

                                                                                                                                                             1,000.00
Account No. 4120613004584436                                                     Opened 5/01/99 Last Active 11/01/05
                                                                                 Credit Card
Merrick Bk
Attn: Bankruptcy                                                             -
P.O. Box 9201
Old Bethpage, NY 11804
                                                                                                                                                                   0.00
Account No. 9540045067709                                                        Opened 5/12/08 Last Active 9/30/11
                                                                                 FHA Real Estate Mortgage
Mortgage Service Cente
Attn: Bankruptcy Dept                                                        -
Po Box 5452
Mt Laurel, NJ 08054
                                                                                                                                                                   0.00
Account No. 215914066636                                                         Opened 7/01/03 Last Active 1/06/11
                                                                                 Automobile
National Auto Finance
200 Renaissance Ctr                                                          -
Detroit, MI 48243

                                                                                                                                                                   0.00
Account No. 623396116                                                            Opened 5/12/08 Last Active 4/27/15
                                                                                 FHA Real Estate Mortgage
Nationstar Mortgage LLC
Attn: Bankruptcy                                                             -
350 Highland Dr
Lewisville, TX 75067
                                                                                                                                                                   0.00

           7
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                             1,000.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                     Case 15-20930                     Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50                      Desc Main
                                                                         Document     Page 29 of 72
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Veda Deleasa Roberson-Lowe                                                                           Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      Utilities                                               E
                                                                                                                                         D

Nicor Gas
Bankruptcy Dept                                                              -
POB 2020
Aurora, IL 60507-0310
                                                                                                                                                               200.00
Account No.                                                                      utilities

Peoples Gas
Chicago, IL 60687-0001                                                       -



                                                                                                                                                               300.00
Account No. 000004265280288                                                      Other Debt NSF Bank Fees

PNC Bank
T7-UCHY-01-3                                                                 -
P.O. Box 2155
Rocky Mount, NC 27802-2155
                                                                                                                                                               669.80
Account No. 6035320338566548                                                     Opened 2/01/15
                                                                                 Factoring Company Account Citibank N.A.
Portfolio Recovery
Attn: Bankruptcy                                                             -
Po Box 41067
Norfolk, VA 23541
                                                                                                                                                             1,618.00
Account No. 381260                                                               Medical Doctors clinic visit

Premier Physicians
24651 Center Ridge Road                                                      -
Suite 350
Westlake, OH 44145
                                                                                                                                                               167.56

           8
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                           Subtotal
                                                                                                                                                             2,955.36
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




 Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                     Case 15-20930                     Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50                       Desc Main
                                                                         Document     Page 30 of 72
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Veda Deleasa Roberson-Lowe                                                                           Case No.
                                                                                                                  ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                       C   U   D
                   CREDITOR'S NAME,                                      O                                                            O   N   I
                   MAILING ADDRESS                                       D   H                                                        N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                  T   I   P
                                                                         B                                                            I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM              N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.              G   I   E
                  (See instructions above.)                              R                                                            E   D   D
                                                                                                                                      N   A
                                                                                                                                      T   T
Account No. 861204855                                                            Utility Bill Cell Phone Bill                             E
                                                                                                                                          D

Sprint
P.O. Box 4191                                                                -
Carol Stream, OH 60197-4191

                                                                                                                                                              1,584.65
Account No.                                                                      uemployment benefits

State of Illinois
Dept. Employment Security                                                    -
POBox 4385 Benefit repayments
Chicago, IL 60680-4385
                                                                                                                                                                    0.00
Account No. XXXXXXXXXXXX6548                                                     Store Card Home Depot Store Credit Card

The Home Depot
P.O. Box 6403                                                                -
Sioux Falls, SD 57117-6403

                                                                                                                                                              1,618.21
Account No. 110102161095                                                         Utility Bill Electric Bill

The Illuminating Company
P.O. Box 3687                                                                -
Akron, OH 44309-3687

                                                                                                                                                              1,194.97
Account No. CAse No.12 CH 5424                                                   Legal Bill Legal Services for Mortgage

The Zrnich Law Group
1000 Skokie Boulevard                                                        -
Suite 430
Wilmette, IL 60091
                                                                                                                                                                800.00

           9
Sheet no. _____     10 sheets attached to Schedule of
                of _____                                                                                                            Subtotal
                                                                                                                                                              5,197.83
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)




 Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                     Case 15-20930                     Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50                             Desc Main
                                                                         Document     Page 31 of 72
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Veda Deleasa Roberson-Lowe                                                                                 Case No.
                                                                                                                   ,
                                                                                                Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                      O                                                                  O   N   I
                   MAILING ADDRESS                                       D   H                                                              N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                         B                                                                  I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                  (See instructions above.)                              R                                                                  E   D   D
                                                                                                                                            N   A
                                                                                                                                            T   T
Account No.                                                                      for notice information purposes only                           E
                                                                                                                                                D

TransUnion
Bankruptcy Department                                                        -
P.O.Box 1000
Chester, PA 19022
                                                                                                                                                                          0.00
Account No. 515769180162                                                         Opened 9/01/11 Last Active 4/03/15
                                                                                 Automobile
Wfs Financial/Wachovia Dealer Srvs
Po Box 3569                                                                  -
Rancho Cucamonga, CA 91729

                                                                                                                                                                  10,889.00
Account No.




Account No.




Account No.




           10 of _____
Sheet no. _____    10 sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                  10,889.00
Creditors Holding Unsecured Nonpriority Claims                                                                                  (Total of this page)
                                                                                                                                            Total
                                                                                                                  (Report on Summary of Schedules)                58,245.16


 Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                       Case 15-20930                  Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50                   Desc Main
                                                                        Document     Page 32 of 72
B6G (Official Form 6G) (12/07)


           a
           }
           n
           b
           d
           k
           1
           U
           {
           S
           e
           c
           x
           h
           p
           i
           r
           u
           l
           L
           G
           -
           s
           E
           t
           o
           y
           C




  In re             Veda Deleasa Roberson-Lowe                                                                  Case No.
                                                                                                      ,
                                                                                    Debtor

                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.

                     Landlord                                                            residential lease




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
                    Case 15-20930                     Doc 1            Filed 06/16/15 Entered 06/16/15 21:03:50            Desc Main
                                                                        Document     Page 33 of 72
B6H (Official Form 6H) (12/07)


           }
           b
           k
           1
           {
           S
           c
           h
           e
           d
           u
           l
           H
           -
           C
           o
           t
           r
           s




  In re          Veda Deleasa Roberson-Lowe                                                              Case No.
                                                                                               ,
                                                                                    Debtor

                                                                  SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                         NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
                      Case 15-20930         Doc 1         Filed 06/16/15 Entered 06/16/15 21:03:50                           Desc Main
                                                           Document     Page 34 of 72


Fill in this information to identify your case:

Debtor 1                      Veda Deleasa Roberson-Lowe

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       NORTHERN DISTRICT OF ILLINOIS

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing post-petition chapter
                                                                                                            13 income as of the following date:

Official Form B 6I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                           12/13
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status*
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation            Accountant
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       quasar energy hroup, llc

       Occupation may include student        Employer's address    5755 Granger Road
       or homemaker, if it applies.                                Suite 320
                                                                   Independence, OH 44131

                                             How long employed there?         2 Years, 11 Months
                                                                              *See Attachment for Additional Employment Information

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1      For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.      $        6,320.00     $             0.00

3.     Estimate and list monthly overtime pay.                                             3.     +$             0.00    +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                        4.      $      6,320.00           $       0.00




Official Form B 6I                                                      Schedule I: Your Income                                                 page 1
              Case 15-20930             Doc 1       Filed 06/16/15 Entered 06/16/15 21:03:50                                   Desc Main
                                                     Document     Page 35 of 72

Debtor 1    Veda Deleasa Roberson-Lowe                                                            Case number (if known)



                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse
      Copy line 4 here                                                                     4.      $         6,320.00      $             0.00

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.     $         1,896.80   $                   0.00
      5b.   Mandatory contributions for retirement plans                                   5b.     $             0.00   $                   0.00
      5c.   Voluntary contributions for retirement plans                                   5c.     $           187.50   $                   0.00
      5d.   Required repayments of retirement fund loans                                   5d.     $             0.00   $                   0.00
      5e.   Insurance                                                                      5e.     $            49.92   $                   0.00
      5f.   Domestic support obligations                                                   5f.     $             0.00   $                   0.00
      5g.   Union dues                                                                     5g.     $             0.00   $                   0.00
      5h.   Other deductions. Specify: EE Loan                                             5h.+    $            83.32 + $                   0.00
            HSAERDD                                                                                $            70.00   $                   0.00
            Misc.                                                                                  $            75.00   $                   0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          2,362.54      $                0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          3,957.46      $                0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.     $              0.00     $                0.00
      8b. Interest and dividends                                                           8b.     $              0.00     $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.     $              0.00     $                0.00
      8d. Unemployment compensation                                                        8d.     $              0.00     $                0.00
      8e. Social Security                                                                  8e.     $              0.00     $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                 0.00   $                  0.00
      8g. Pension or retirement income                                                     8g. $                  0.00   $                  0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                 0.00 + $                  0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $               0.00     $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $           3,957.46 + $              0.00 = $           3,957.46
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.   $           3,957.46
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form B 6I                                                    Schedule I: Your Income                                                        page 2
              Case 15-20930      Doc 1     Filed 06/16/15 Entered 06/16/15 21:03:50                     Desc Main
                                            Document     Page 36 of 72

Debtor 1   Veda Deleasa Roberson-Lowe                                          Case number (if known)




                                               Official Form B 6I
                               Attachment for Additional Employment Information

Debtor
Occupation            Accountant
Name of Employer      quasar energy group,llc                             Paid SemiMonthly $3160
How long employed     2 Years, 11 Months                                  Deductions: $948.4 Taxes - 24.96 Insurance -
Address of Employer   5755 Granger Road                                   93.75 RetireVoln - 35 HSAERD - 37.5 misc. -
                      Suite 320                                           41.66 EE loan
                      Independence, OH 44131                              Net pay: $1978.73 SemiMonthly

Debtor
Occupation            Accountant
Name of Employer      quasar energy group,llc                             Paid SemiMonthly $3160
How long employed     2 Years, 11 Months                                  Deductions: $948.4 Taxes - 24.96 Insurance -
Address of Employer   5755 Granger Road                                   93.75 RetireVoln - 35 HSAERD - 37.5 misc. -
                      Suite 320                                           41.66 EE loan
                      Independence, OH 44131                              Net pay: $1978.73 SemiMonthly

Debtor
Occupation            Accountant
Name of Employer      quasar energy hroup, llc                            Paid SemiMonthly $3160
How long employed     2 Years, 11 Months                                  Deductions: $948.4 Taxes - 24.96 Insurance -
Address of Employer   5755 Granger Road                                   93.75 RetireVoln - 35 HSAERDD - 79.16 EE
                      Suite 320                                           Loan/LOC Pymt
                      Independence, OH 44131                              Net pay: $1978.73 SemiMonthly

Debtor
Occupation            Accountant
Name of Employer      quasar energy hroup, llc                            Paid SemiMonthly $3160
How long employed     2 Years, 11 Months                                  Deductions: $948.4 Taxes - 24.96 Insurance -
Address of Employer   5755 Granger Road                                   93.75 RetireVoln - 35 HSAERDD - 79.16 EE
                      Suite 320                                           Loan/LOC Pymt
                      Independence, OH 44131                              Net pay: $1978.73 SemiMonthly




Official Form B 6I                                   Schedule I: Your Income                                        page 3
              Case 15-20930                Doc 1         Filed 06/16/15 Entered 06/16/15 21:03:50                                     Desc Main
                                                          Document     Page 37 of 72


Fill in this information to identify your case:

Debtor 1                 Veda Deleasa Roberson-Lowe                                                         Check if this is:
                                                                                                                An amended filing
Debtor 2                                                                                                        A supplement showing post-petition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF ILLINOIS                                              MM / DD / YYYY

Case number                                                                                                          A separate filing for Debtor 2 because Debtor
(If known)                                                                                                           2 maintains a separate household



Official Form B 6J
Schedule J: Your Expenses                                                                                                            12/13
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?               No
      Do not list Debtor 1                  Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s        Does dependent
      and Debtor 2.                                each dependent..............    Debtor 1 or Debtor 2                 age                live with you?

      Do not state the                                                                                                                        No
      dependents' names.                                                           granddaughter                        2                     Yes
                                                                                                                                              No
                                                                                   neice                                16                    Yes
                                                                                                                                              No
                                                                                   neice                                16                    Yes
                                                                                                                                              No
                                                                                   daughter                             20                    Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 6I.)                                                                                                          Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,000.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.   $                               0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.   $                               0.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.   $                             200.00
      4d. Homeowner’s association or condominium dues                                                      4d.   $                               0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                               0.00




Official Form B 6J                                                   Schedule J: Your Expenses                                                   page 1
            Case 15-20930                  Doc 1          Filed 06/16/15 Entered 06/16/15 21:03:50                                       Desc Main
                                                           Document     Page 38 of 72

Debtor 1     Veda Deleasa Roberson-Lowe                                                                 Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                    6a. $                                                    450.00
      6b. Water, sewer, garbage collection                                                  6b. $                                                    185.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                    265.00
      6d. Other. Specify:                                                                   6d. $                                                      0.00
7.    Food and housekeeping supplies                                                          7. $                                                   800.00
8.    Childcare and children’s education costs                                                8. $                                                   600.00
9.    Clothing, laundry, and dry cleaning                                                     9. $                                                   250.00
10.   Personal care products and services                                                   10. $                                                    350.00
11.   Medical and dental expenses                                                           11. $                                                    150.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                          12. $                                                    550.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                    350.00
14.   Charitable contributions and religious donations                                      14. $                                                      0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                      0.00
      15b. Health insurance                                                                15b. $                                                      0.00
      15c. Vehicle insurance                                                               15c. $                                                    153.50
      15d. Other insurance. Specify:                                                       15d. $                                                      0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: TAXES                                                                        16. $                                                    120.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                    351.57
      17b. Car payments for Vehicle 2                                                      17b. $                                                      0.00
      17c. Other. Specify:                                                                 17c. $                                                      0.00
      17d. Other. Specify:                                                                 17d. $                                                      0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 6I).         18. $                                                       0.00
19.   Other payments you make to support others who do not live with you.                        $                                                      0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                      0.00
      20b. Real estate taxes                                                               20b. $                                                      0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                      0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                      0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                      0.00
21.   Other: Specify:    Book/Social Club                                                   21. +$                                                    75.00
      City of Lakewood                                                                           +$                                                   50.00
      Treasurer State of Ohio                                                                    +$                                                  104.00
      CAFCU                                                                                      +$                                                   75.00
22. Your monthly expenses. Add lines 4 through 21.                                                            22.      $                       6,079.07
    The result is your monthly expenses.
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                               3,957.46
    23b. Copy your monthly expenses from line 22 above.                                                      23b. -$                              6,079.07

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                              -2,121.61

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
        No.
        Yes.
      Explain:




Official Form B 6J                                                   Schedule J: Your Expenses                                                        page 2
                 Case 15-20930                   Doc 1           Filed 06/16/15 Entered 06/16/15 21:03:50               Desc Main
                                                                  Document     Page 39 of 72
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Veda Deleasa Roberson-Lowe                                                                   Case No.
                                                                                   Debtor(s)             Chapter    7




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of         30
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date June 15, 2015                                                    Signature   /s/ Veda Deleasa Roberson-Lowe
                                                                                   Veda Deleasa Roberson-Lowe
                                                                                   Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                  CasePage}bk{
}bk1{Schedules Signature 15-20930   Doc 1   Filed 06/16/15 Entered 06/16/15 21:03:50   Desc Main
                                             Document     Page 40 of 72
                 Case 15-20930                   Doc 1           Filed 06/16/15 Entered 06/16/15 21:03:50                         Desc Main
                                                                  Document     Page 41 of 72
B7 (Official Form 7) (04/13)



                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re       Veda Deleasa Roberson-Lowe                                                                        Case No.
                                                                                 Debtor(s)                     Chapter        7

                                                       STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE
                          $21,041.68                            2015 quasar energy group,llc
                          $74,232.24                            2014 quasar energy group,llc
                          $71,287.59                            2013 quasar energy group,llc
                          $21,042.00                            2015 quasar energy hroup, llc
                          $74,232.00                            2014 quasar energy hroup, llc
                          $70,000.00                            2013 quasar energy hroup, llc




Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                 Case 15-20930                   Doc 1           Filed 06/16/15 Entered 06/16/15 21:03:50                      Desc Main
                                                                  Document     Page 42 of 72

B7 (Official Form 7) (04/13)
2
               2. Income other than from employment or operation of business

      None     State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                         AMOUNT                                 SOURCE
                         $0.00                                  2012: amount? Government Benefits: Welfare/Public Aid entitlement: Food
                                                                Stamps/Link card at $??
                         $0.00                                  2011: amount? Government Benefits: Welfare/Public Aid entitlement: Food
                                                                Stamps/Link card at $?
                         $0.00                                  2009: amount? Government Benefits: Welfare/Public Aid entitlement: Food
                                                                Stamps/Link card
                         $0.00                                  2013: amount? Government Benefits: Welfare/Public Aid entitlement: Food
                                                                Stamps/Link card at $??

               3. Payments to creditors

      None     Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
               services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
               aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
               payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
               a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
               include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
               not filed.)

 NAME AND ADDRESS                                                       DATES OF                                                        AMOUNT STILL
     OF CREDITOR                                                        PAYMENTS                              AMOUNT PAID                 OWING
 Check Smart                                                            1/31/15, 2/27/15                        $1,800.00                  $910.50
 205 Sugar Camp Circle
 Dept. CSM
 Dayton, OH 45409
 Ace Cash Advance                                                       1/31/15                                    $1,000.00               $1,137.06
 11648 Lorain Avenu
 Cleveland, OH 44111
 Advance America Cash Advance                                           01/15/15,01/31/15,02/13/15,0               $2,075.19                 $691.73
 13708 Lorain Road                                                      2/27/15
 Cleveland, OH 44111

      None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                   AMOUNT
                                                                        DATES OF                                    PAID OR
                                                                        PAYMENTS/                                 VALUE OF              AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                           TRANSFERS                                TRANSFERS                OWING

      None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  *   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                 Case 15-20930                   Doc 1           Filed 06/16/15 Entered 06/16/15 21:03:50                     Desc Main
                                                                  Document     Page 43 of 72

B7 (Official Form 7) (04/13)
3

 NAME AND ADDRESS OF CREDITOR AND                                                                                                      AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                               DATE OF PAYMENT                     AMOUNT PAID               OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                         NATURE OF            COURT OR AGENCY                             STATUS OR
 AND CASE NUMBER                                                         PROCEEDING           AND LOCATION                                DISPOSITION
 vs Debtor (See schedule F for details)                                  Breach of            Daley Center, Circuit Court of Cook         Judgments
                                                                         Contracts -          County, Illinois
                                                                         failure to pay for
                                                                         goods and
                                                                         services
                                                                         rendered

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                             DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                          DATE OF SEIZURE                 PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                       DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                     FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                    TRANSFER OR RETURN                  PROPERTY
 Wells Fargo Dealer Services                                         03/11/2015
 P.O.Box 25341                                                                                      2010 Nissan Altima
 Santa Ana, CA 92799-5341                                                                           Value: 11261.00
 PHH Mortgages                                                       06/14/2014
 2001 Bishops Gate Boulevard                                                                        Single Story 3 Bedroom home
 Mt. Laurel, NJ 08054                                                                               Value: 279000.00

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                        ASSIGNMENT                     TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                               NAME AND LOCATION
 NAME AND ADDRESS                                                   OF COURT                         DATE OF        DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                CASE TITLE & NUMBER                   ORDER                PROPERTY



Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                 Case 15-20930                   Doc 1           Filed 06/16/15 Entered 06/16/15 21:03:50                     Desc Main
                                                                  Document     Page 44 of 72

B7 (Official Form 7) (04/13)
4
               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                         RELATIONSHIP TO                                         DESCRIPTION AND
 PERSON OR ORGANIZATION                                         DEBTOR, IF ANY                  DATE OF GIFT            VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                         DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                   LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                            BY INSURANCE, GIVE PARTICULARS                       DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                         DATE OF PAYMENT,                                   AMOUNT OF MONEY
 NAME AND ADDRESS                                                     NAME OF PAYER IF OTHER                           OR DESCRIPTION AND VALUE
     OF PAYEE                                                                THAN DEBTOR                                       OF PROPERTY
 Bankruptcy Court Northern Dist. IL                                   Debtor timely pays directly the                 $306 Court Filing Fee debtor
 219 S Dearborn Street                                                Bankruptcy Court Filing fee in money            pays with a separate money
 7th Floor                                                            order(s) pursuant to Court Rules and/or         order for $306 made out to "US
 Chicago, IL 60604                                                    Order.                                          Bankruptcy Court" (which is
                                                                                                                      separate and not included in
                                                                                                                      the $595 Law Firm Attorneys
                                                                                                                      fees)
 Credit Counseling provider                                           debtor pays directly to the Credit              $25-60 Credit Counseling
                                                                      Counseling Course provider they                 Course - debtor chooses
                                                                      choose                                          his/her provider, each provider
                                                                                                                      charges different amounts for
                                                                                                                      their services.
 Law Firm Attorney Fees                                                                                               $550 Law Firm Attorneys fees
                                                                                                                      for Chapter 7 Bankruptcy
                                                                                                                      pursuant to contract.
 Financial Management Course provider                                 debtor pays directly to Debtor                  $15-60 Financial Management
                                                                      Education/Financial Management                  Debtor Education Course
                                                                      provider they choose                            provider, debtor chooses
                                                                                                                      his/her provider, each provider
                                                                                                                      charges different amounts for
                                                                                                                      their services.

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                           DATE                             AND VALUE RECEIVED



Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                 Case 15-20930                   Doc 1           Filed 06/16/15 Entered 06/16/15 21:03:50                       Desc Main
                                                                  Document     Page 45 of 72

B7 (Official Form 7) (04/13)
5
   None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                          AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                               DATE(S) OF                 VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                      TRANSFER(S)                IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                        TYPE OF ACCOUNT, LAST FOUR
                                                                        DIGITS OF ACCOUNT NUMBER,                       AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                      AND AMOUNT OF FINAL BALANCE                              OR CLOSING
 PNC Bank                                                             Checking Account                                  0.00
 14205 Detroit Avenue                                                 Savings Account
 Lakewood, OH 44107                                                   Final Balance: 0.00
 The Huntington Bak                                                   Checking Account                                  0.00
 14100 Detroit Avenue                                                 Final Balance: 0.00                               02/21/2015
 Lakewood, OH 44107

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                          NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                 OF THOSE WITH ACCESS                    DESCRIPTION                   DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                     TO BOX OR DEPOSITORY                    OF CONTENTS                    SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                         DATE OF SETOFF                                    AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                DESCRIPTION AND VALUE OF PROPERTY                LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                              NAME USED                                         DATES OF OCCUPANCY
 1568 Olivewood Avenue                                                no                                                5/1/2012 - 4/30/2014
 Lakewood OH 44107-0000



Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
                 Case 15-20930                   Doc 1           Filed 06/16/15 Entered 06/16/15 21:03:50                     Desc Main
                                                                  Document     Page 46 of 72

B7 (Official Form 7) (04/13)
6
 ADDRESS                                                              NAME USED                                        DATES OF OCCUPANCY
 8643 Monticello Avenue                                               no                                               05/01/2009-04/30/2012
 Skokie IL 60076-0000

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

               "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
               operated by the debtor, including, but not limited to, disposal sites.

               "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
               pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                    DOCKET NUMBER                                    STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.


Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                 Case 15-20930                   Doc 1           Filed 06/16/15 Entered 06/16/15 21:03:50                       Desc Main
                                                                  Document     Page 47 of 72

B7 (Official Form 7) (04/13)
7

                                   LAST FOUR DIGITS OF
                                   SOCIAL-SECURITY OR
                                   OTHER INDIVIDUAL
                                   TAXPAYER-I.D. NO.                                                                               BEGINNING AND
 NAME                              (ITIN)/ COMPLETE EIN              ADDRESS                      NATURE OF BUSINESS               ENDING DATES

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                  ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                               ADDRESS                                                DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                   ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                           DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                  INVENTORY SUPERVISOR                                   (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


                                                                               NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                             RECORDS




Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
                 Case 15-20930                   Doc 1           Filed 06/16/15 Entered 06/16/15 21:03:50                       Desc Main
                                                                  Document     Page 48 of 72

B7 (Official Form 7) (04/13)
8
               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                     NATURE OF INTEREST                               PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                           NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                     TITLE                                OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                          ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                     TITLE                                DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                        AMOUNT OF MONEY
 OF RECIPIENT,                                                        DATE AND PURPOSE                                 OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                               OF WITHDRAWAL                                    VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                           TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                 TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                              ******

                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
                 Case 15-20930                   Doc 1           Filed 06/16/15 Entered 06/16/15 21:03:50                           Desc Main
                                                                  Document     Page 49 of 72

B7 (Official Form 7) (04/13)
9


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date June 15, 2015                                                   Signature   /s/ Veda Deleasa Roberson-Lowe
                                                                                  Veda Deleasa Roberson-Lowe
                                                                                  Debtor

                  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                Case
}bk1{SOFA Signature     15-20930
                    Page}bk{       Doc 1   Filed 06/16/15 Entered 06/16/15 21:03:50   Desc Main
                                            Document     Page 50 of 72
                 Case 15-20930                   Doc 1           Filed 06/16/15 Entered 06/16/15 21:03:50                  Desc Main
                                                                  Document     Page 51 of 72

B8 (Form 8) (12/08)
                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Veda Deleasa Roberson-Lowe                                                                     Case No.
                                                                                   Debtor(s)               Chapter     7


                                 CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)
 Property No. 1

 Creditor's Name:                                                                   Describe Property Securing Debt:
 Wells Fargo Dealer Services                                                        Auto: 2010 Nissan Altima
                                                                                    180,000
                                                                                    fair condition
                                                                                    Location: Not sure the car was just repo by the bank

 Property will be (check one):
        Surrendered                                                     Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                              Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                                Describe Leased Property:                 Lease will be Assumed pursuant to 11
 -NONE-                                                                                                  U.S.C. § 365(p)(2):
                                                                                                            YES              NO


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date June 15, 2015                                                    Signature   /s/ Veda Deleasa Roberson-Lowe
                                                                                   Veda Deleasa Roberson-Lowe
                                                                                   Debtor




Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
}bk1{SOI SignatureCase
                  page}bk{15-20930   Doc 1   Filed 06/16/15 Entered 06/16/15 21:03:50   Desc Main
                                              Document     Page 52 of 72
                 Case 15-20930                   Doc 1           Filed 06/16/15 Entered 06/16/15 21:03:50                       Desc Main
                                                                  Document     Page 53 of 72

                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re       Veda Deleasa Roberson-Lowe                                                                       Case No.
                                                                                 Debtor(s)                    Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     550.00
             Prior to the filing of this statement I have received                                        $                     550.00
             Balance Due                                                                                  $                       0.00

2.     $    0.00      of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                   Debtor                Other (specify):

4.     The source of compensation to be paid to me is:

                   Debtor                Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                          CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:      June 15, 2015                                                       /s/ S. M. de Rath, Esq.
                                                                                 S. M. de Rath, Esq. 6206809
                                                                                 Attorney S.M.de Rath, Esq.
                                                                                 233 S. Wacker Dr, 84th FL
                                                                                 Chicago, IL 60606
                                                                                 312-283-8606




Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                 Case 15-20930                   Doc 1           Filed 06/16/15 Entered 06/16/15 21:03:50        Desc Main
                                                                  Document     Page 54 of 72
B 201A (Form 201A) (6/14)



                                                     UNITED STATES BANKRUPTCY COURT
                                                      NORTHERN DISTRICT OF ILLINOIS
                                         NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                  OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total Fee $335)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$75 administrative fee: Total Fee $310)
            Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                       Best Case Bankruptcy
                 Case 15-20930                   Doc 1           Filed 06/16/15 Entered 06/16/15 21:03:50      Desc Main
                                                                  Document     Page 55 of 72
Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.


            Chapter 11: Reorganization ($1,167 filing fee, $550 administrative fee: Total Fee $1,717)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total Fee $275)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                      Best Case Bankruptcy
             Case 15-20930              Doc 1       Filed 06/16/15 Entered 06/16/15 21:03:50                             Desc Main
                                                     Document     Page 56 of 72


B 201B (Form 201B) (12/09)
                                                  United States Bankruptcy Court
                                                         Northern District of Illinois
 In re    Veda Deleasa Roberson-Lowe                                                                    Case No.
                                                                         Debtor(s)                      Chapter      7

                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                            Certification of Debtor
          I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
Veda Deleasa Roberson-Lowe                                                 X /s/ Veda Deleasa Roberson-Lowe                   June 15, 2015
Printed Name(s) of Debtor(s)                                                 Signature of Debtor                              Date

Case No. (if known)                                                        X
                                                                               Signature of Joint Debtor (if any)             Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
                  Casepage}bk{
}bk1{Chapters Signature 15-20930   Doc 1   Filed 06/16/15 Entered 06/16/15 21:03:50   Desc Main
                                            Document     Page 57 of 72
                 Case 15-20930                   Doc 1           Filed 06/16/15 Entered 06/16/15 21:03:50              Desc Main
                                                                  Document     Page 58 of 72




                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Veda Deleasa Roberson-Lowe                                                                  Case No.
                                                                                  Debtor(s)             Chapter    7




                                                     VERIFICATION OF CREDITOR MATRIX

                                                                                        Number of Creditors:                                 60




            The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
            (our) knowledge.




 Date: June 15, 2015                                                   /s/ Veda Deleasa Roberson-Lowe
                                                                       Veda Deleasa Roberson-Lowe
                                                                       Signature of Debtor




Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
}bk1{Verification of Case   15-20930
                     CR signature Page}bk{   Doc 1   Filed 06/16/15 Entered 06/16/15 21:03:50   Desc Main
                                                      Document     Page 59 of 72
Case 15-20930   Doc 1   Filed 06/16/15 Entered 06/16/15 21:03:50   Desc Main
                         Document     Page 60 of 72
Case 15-20930   Doc 1   Filed 06/16/15 Entered 06/16/15 21:03:50   Desc Main
                         Document     Page 61 of 72
Case 15-20930   Doc 1   Filed 06/16/15 Entered 06/16/15 21:03:50   Desc Main
                         Document     Page 62 of 72
Case 15-20930   Doc 1   Filed 06/16/15 Entered 06/16/15 21:03:50   Desc Main
                         Document     Page 63 of 72
Case 15-20930   Doc 1   Filed 06/16/15 Entered 06/16/15 21:03:50   Desc Main
                         Document     Page 64 of 72
Case 15-20930   Doc 1   Filed 06/16/15 Entered 06/16/15 21:03:50   Desc Main
                         Document     Page 65 of 72
    Case 15-20930   Doc 1   Filed 06/16/15 Entered 06/16/15 21:03:50   Desc Main
                             Document     Page 66 of 72

}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                      Ace Cash Advance
                      11648 Lorain Avenu
                      Cleveland, OH 44111


                      Advance America Cash Advance
                      13708 Lorain Road
                      Cleveland, OH 44111


                      Allied Interstate
                      P.O. Box 361445
                      Columbus, OH 43236


                      Ars /Account Resolution Services
                      1643 Harrison Pkwy Ste 1
                      Sunrise, FL 33323


                      Brazos Higher Ed Corp/
                      2401 International
                      Madison, WI 53704


                      Bzhec/glelsi
                      2401 International
                      Madison, WI 53704


                      Capital One
                      c/o Javitch Block LLC
                      1100 Superior Ave, 19th Floor
                      Cleveland, OH 44114-2521


                      Capital One
                      Attn: Bankruptcy
                      Po Box 30285
                      Salt Lake City, UT 84130


                      Cash Net USA
                      200 West Jackson
                      Suite 2400
                      Chicago, IL 60600


                      Cash Taxi.com
                      Level 5 Plaza Commecial Ctr
                      Bisazza Street
                      Slieme SLM1640 Malto, PA 11111
Case 15-20930   Doc 1   Filed 06/16/15 Entered 06/16/15 21:03:50   Desc Main
                         Document     Page 67 of 72


                  Cbna
                  133200 Smith Rd
                  Cleveland, OH 44130


                  Check Smart
                  205 Sugar Camp Circle
                  Dept. CSM
                  Dayton, OH 45409


                  Citibank/The Home Depot
                  Citicorp Credit Srvs/Centralized Bankrup
                  Po Box 790040
                  Saint Louis, MO 63179


                  City of Chicago
                   Department of Revenue
                  POBox 88292
                  Chicago, IL 60680-1292


                  City of Lakewood
                  12805 Detroit Ave
                  Division OF Utility Billing
                  Lakewood, OH 44107


                  City of Lakewood
                  12805 Detroit Avenue
                  Lakewood, OH 44107


                  Cleveland Clinic
                  9500 Euclid Avenue
                  Cleveland, OH 44195


                  Cleveland Clinic
                  Customer Service
                  9500 Euclid Avenue RK2-4
                  Cleveland, OH 44195


                  Cleveland Clinis
                  Customer Service
                  9500 Euclid Ave RK2-4
                  Cleveland, OH 44195


                  ComED
                  P.O. Box 6111
                  Carol Stream, IL 60197
Case 15-20930   Doc 1   Filed 06/16/15 Entered 06/16/15 21:03:50   Desc Main
                         Document     Page 68 of 72


                  Comenity Bank/Harlem Furniture
                  Attention: Bankruptcy
                  Po Box 182125
                  Columbus, OH 43218


                  Corporate America Fcu
                  Attn: Collections Dept
                  2075 Big Timber Rd
                  Elgin, IL 60123


                  Cox Communications
                  P.O.Box 1259
                  Dept. #102290
                  Oaks, PA 19456


                  Delbert Services/consu
                  1 City Blvd W
                  Orange, CA 92868


                  Dominion East Ohio Gas Company
                  P.O. Box 5759
                  Cleveland, OH 44101


                  East Side Lenders
                  40 E Main Street
                  Suite 410
                  Newark, DE 19711


                  Equifax Credit Information Services
                  Bankruptcy Department
                  P.O Box 740241
                  Atlanta, GA 30374-0241


                  Experian
                  Bankruptcy Dept
                  P.O.Box 2002
                  Allen, TX 75013


                  GECRB / HH Gregg
                  Attention: Bankruptcy
                  Po Box 103104
                  Roswell, GA 30076
Case 15-20930   Doc 1   Filed 06/16/15 Entered 06/16/15 21:03:50   Desc Main
                         Document     Page 69 of 72


                  Get Cash USA
                  125 North Halsted Street
                  4th Floor
                  Chicago, IL 60661


                  Greenline Loans
                  P.O. Box 507
                  Hays, MT 59527


                  Harris & Harris
                  600 W Jackson Blvd, Suite 400
                  Chicago, IL 60661


                  Il Dept of Human Services
                  100 South Grand Ave East
                  (800) 843-6154
                  Springfield, IL 62762


                  IL Dept of Human Services
                  401 S. Clinton Street
                  (800) 843-6154
                  Chicago, IL 60607


                  Internal Revenue Services
                  ACS Support - Stop 5050
                  P.O. Box 219236
                  Kansas City, MO 64121-9236


                  Javitch Block LLC
                  1100 Superior Ave
                  19th Floor
                  Cleveland, OH 44114-2521


                  Landlord



                  Linebarger Goggan Blair & Sampson
                  Attorneys at Law
                  P O Box 06152
                  Chicago, IL 60606-0152


                  Max Lend
                  P.O. Box 639
                  Parshall, ND 58770
Case 15-20930   Doc 1   Filed 06/16/15 Entered 06/16/15 21:03:50   Desc Main
                         Document     Page 70 of 72


                  Merrick Bk
                  Attn: Bankruptcy
                  P.O. Box 9201
                  Old Bethpage, NY 11804


                  Montgomery Lynch &Associates, Inc.
                  P.O. Box 22720
                  Beachwood, OH 44122-0720


                  Mortgage Service Cente
                  Attn: Bankruptcy Dept
                  Po Box 5452
                  Mt Laurel, NJ 08054


                  National Auto Finance
                  200 Renaissance Ctr
                  Detroit, MI 48243


                  Nationstar Mortgage LLC
                  Attn: Bankruptcy
                  350 Highland Dr
                  Lewisville, TX 75067


                  Nicor Gas
                  Bankruptcy Dept
                  POB 2020
                  Aurora, IL 60507-0310


                  Ohio Department of Taxation
                  P.O. Box 182402
                  Columbus, OH 43216-2402


                  Peoples Gas
                  Chicago, IL 60687-0001



                  PNC Bank
                  T7-UCHY-01-3
                  P.O. Box 2155
                  Rocky Mount, NC 27802-2155


                  Portfolio Recovery
                  Attn: Bankruptcy
                  Po Box 41067
                  Norfolk, VA 23541
Case 15-20930   Doc 1   Filed 06/16/15 Entered 06/16/15 21:03:50   Desc Main
                         Document     Page 71 of 72


                  Portfolio Recovery Associates, LLC
                  120 Corporate Boulevard
                  Norfolk, VA 23502


                  Premier Physicians
                  24651 Center Ridge Road
                  Suite 350
                  Westlake, OH 44145


                  Sprint
                  P.O. Box 4191
                  Carol Stream, OH 60197-4191


                  State of Illinois
                  Dept. Employment Security
                  POBox 4385 Benefit repayments
                  Chicago, IL 60680-4385


                  The Home Depot
                  P.O. Box 6403
                  Sioux Falls, SD 57117-6403


                  The Illuminating Company
                  P.O. Box 3687
                  Akron, OH 44309-3687


                  The Zrnich Law Group
                  1000 Skokie Boulevard
                  Suite 430
                  Wilmette, IL 60091


                  TransUnion
                  Bankruptcy Department
                  P.O.Box 1000
                  Chester, PA 19022


                  United Collection Bureau, Inc.
                  Ohio Attorney General
                  150 East Gay St. 21st Floor
                  Columbus, OH 43215


                  Wells Fargo Dealer Services
                  P.O. Box 25341
                  Santa Ana, CA 92799-5341
Case 15-20930   Doc 1   Filed 06/16/15 Entered 06/16/15 21:03:50   Desc Main
                         Document     Page 72 of 72


                  Wfs Financial/Wachovia Dealer Srvs
                  Po Box 3569
                  Rancho Cucamonga, CA 91729
